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 Michael J. Canning, Esq. (MJC3060)
 GIORDANO, HALLERAN & CIESLA, P.C.
 125 Half Mile Road, Suite 300
 Red Bank, N.J. 07701-6777
 (732) 741-3900
 Attorneys for Defendant, Cohen, Weiss and Simon LLP

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

                                                 Case No. 2:20-cv-12880-JMV-JAD
  DANIEL D’AMBLY,

                                    Plaintiff,
                                                               Civil Action
                      v.

  CHRISTIAN EXOO a/k/a ANTIFASH                   ORDER DISMISSING COUNT XIII OF
  GORDON; ST. LAWRENCE UNIVERSITY;                 PLAINTIFF’S COMPLAINT WITH
  TRIBUNE PUBLISHING COMPANY;                              PREJUDICE
  NEW YORK DAILY NEWS; VIJAY
  GADDE; TWITTER, INC.; COHEN, WEISS
  AND SIMON LLP,

                                 Defendants.


       THIS MATTER having come before the Court on motion to dismiss

 pursuant to Federal Rule of Civil Procedure 12(c) brought by

 Defendant, Cohen, Weiss and Simon LLP, through counsel, Giordano,

 Halleran & Ciesla, P.C. seeking an order dismissing Count XIII of

 Plaintiff’s Complaint in its entirety with prejudice; and the Court

 having reviewed and considered the papers submitted by counsel,

 and for good cause shown with due deliberation thereon,

       IT IS ON THIS _______ day of __________________, 2020;

       ORDERED that Defendant, Cohen, Weiss and Simon LLP’s motion

 to dismiss is hereby granted;
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          IT IS FURTHER ORDERED that Count XIII of Plaintiff, Daniel

 D’Ambly’s Complaint is hereby dismissed with prejudice in its

 entirety as to Defendant, Cohen, Weiss and Simon LLP; and

          IT IS FURTHER ORDERED that counsel for Cohen, Weiss and Simon

 LLP shall forward a true copy of this Order to all counsel of

 record within __days hereof.



                                       ________________________________
                                       HON. JOSEPH A. DICKSON,
                                       U.S. MAGISTRATE COURT JUDGE



 Docs #4702883-v1




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